Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 1 of 8 PageID: 154




 UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
 ---------------------------------------------------------------------
 MARTIN J. WALSH, Secretary of Labor,                                  :
 United States Department of Labor,
                                                                       :
                                 Plaintiff,                              CONSENT JUDGMENT
                         v.                                            :
 FTR ELECTRICAL AND MECHANICAL                                           Case No. 20-06332 (CCC, ESK)
 CONTRACTORS, INC. d/b/a FTR ELECTRICAL &                              :
 HVAC SERVICES; ANTONIO GONCALVES,
 individually, and FRANCISCO CARMO, individually,

                                 Defendants.
                                                                       :
                                                                         ORDER
 ---------------------------------------------------------------------



        1.       Plaintiff, MARTIN J. WALSH, the Secretary of Labor (“Plaintiff”), has filed his

Complaint and Defendants FTR ELECTRICAL AND MECHANICAL CONTRACTORS, INC.

d/b/a FTR ELECTRICAL & HVAC SERVICES, ANTONIO GONCALVES, and FRANCISCO

CARMO (“Defendants”) appeared by Counsel and agree to the entry of this Consent Judgment

without contest.

        2.       Defendants agree that they are a covered enterprise under sections 3(r) and 3(s) of

the Fair Labor Standards Act of 1938, as amended (29 U.S.C. § 201 et seq.) (the “Act” or the

“FLSA”) and that the provisions of the Act apply to Defendants.

        3.       Defendants agree that Defendants Antonio Goncalves and Francisco Carmo

regulated the employment of all persons employed by them and are thus employers within the

meaning of section 3(d) of the Act.

        4.       Defendants submit to the jurisdiction of this Court over them and over the subject

matter of this action. Defendants admit that this Court has the authority to enter and enforce this

Order and that this Court is the most appropriate venue for any enforcement action which may be



                                                         1
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 2 of 8 PageID: 155




required as a result of this Order.

       5.      Defendants acknowledge and admit that they violated certain provisions of the Act.

Specifically, Defendants acknowledge and admit that between September 22, 2016 through

September 25, 2019 certain employees routinely worked in excess of 40 hours per week without

receiving additional premium pay for overtime hours. Defendants also acknowledge and admit

that between September 22, 2016 through September 25, 2019 certain employees routinely worked

additional time each workday for which they were not paid.

       6.        Defendants further acknowledge and admit that between September 22, 2016

through September 25, 2019 they did not make, keep, and preserve all records of wages, hours,

and other conditions and practices of employment maintained by them as required by sections

11(c) and 15(a)(5) of the Act, and as prescribed by the regulations found in 29 C.F.R. Part 516

that are issued, and from time to time amended, pursuant to section 11(c) of the Act.

       7.        By letter dated May 28, 2020, the Wage and Hour Division of the U.S.

Department of Labor (“WHD”) issued a notice of assessment of FLSA Civil Money Penalties

(“CMPs”) to Defendants for WHD Case Number 1884567 pursuant to section 16(e)(2) of the

Act, 29 U.S.C. § 216(e)(2), and 29 C.F.R. Part 580. By letter dated June 11, 2020, Defendants

timely filed an exception and request for hearing pursuant to 29 C.F.R. § 580.6.

       8.        This Consent Judgment resolves all disputes regarding the CMPs issued to

Defendants on May 28, 2020 arising out of WHD Case Number 1884567. Having resolved all

disputes in connection to the CMPs issued to Defendants, Defendants withdraw their June 11,

2020 exception and agree to pay the CMPs in accordance with Paragraphs II and III.B. of this

Consent Judgment.

       9.      Defendants acknowledge that they have notice of, and understand, the provisions


                                                2
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 3 of 8 PageID: 156




of this Consent Judgment, and acknowledge their responsibilities pursuant to this Consent

Judgment, and acknowledge that they will be subject to sanctions in contempt of this Court and

may be subject to punitive damages if they fail to comply with the provisions of this Consent

Judgment. This Consent Judgment hereby resolves all remaining claims in this matter.

        It is, therefore, upon motion of the attorneys for Plaintiff and for cause shown ORDERED

that:

        I.      Defendants, their officers, employees, agents, and all persons acting or claiming

to act in Defendants’ behalf and interest, be, and hereby are, permanently enjoined and restrained

from violating the provisions of sections 7, 11(c), 15(a)(2), 15(a)(3), and 15(a)(5) of the Act, in

any of the following manners:

        (1)    Defendants shall not, contrary to section 7 of the Act, employ any of their non-

               exempt employees in any workweek for workweeks longer than the hours now, or

               which in the future become, applicable under sections 7 and 15(a)(2) of the Act,

               unless the employees receive compensation for their employment in excess of the

               prescribed hours at rates not less than one and one-half times the employees’ regular

               rates.

        (2)    Defendants shall make, keep, and preserve adequate records of their employees and

               of the wages, hours, and other conditions and practices of employment maintained

               by them as prescribed by the Regulations issued pursuant to section 11(c) of the

               Act and found at 29 C.F.R. Part 516.

        (3)    Defendants shall not discharge or take any retaliatory action against any employee

               because the employee engages in, or is believed to have engaged in, any of the

               following activities:



                                                 3
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 4 of 8 PageID: 157




               a.    Discloses, protests, or threatens to disclose or protest to a supervisor or to a

                     public agency any activity, policy, or practice of Defendants or another

                     employer with whom there is a business relationship, that the employee

                     reasonably believes is in violation of the Act or a rule or regulation

                     promulgated pursuant to the Act;

               b.    Provides information to, or testifies before, any public agency or entity

                     conducting an investigation, hearing or inquiry into any alleged violation of

                     the Act, or a rule or regulation promulgated pursuant to the Act, by

                     Defendants or another employer with whom there is a business relationship;

                     or

               c.    Objects to, or refuses to participate in any activity, policy or practice which

                     the employee reasonably believes is in violation of the Act or a rule or

                     regulation promulgated pursuant to the Act.

       II.     Upon the parties’ agreement that unpaid overtime back wages are owed and shall

be paid to the employees listed in the attached Exhibit A in the amount of $355,846.92, plus an

equal additional amount of liquidated damages of $355,846.92 and post-judgment interest, and

Civil Money Penalties in the amount of $13,306.16, plus post-judgment interest, for a total amount

of $728,143.75, it is:

       ORDERED that Defendants and all persons acting on their behalf are enjoined and

restrained from withholding the payment of $355,846.92 in unpaid overtime back wages due

Defendants’ current and former employees listed in Exhibit A. Further, Defendants shall pay a

total of $355,846.92 in liquidated damages, plus $2,877.63 in post-judgment interest due, to

Defendants’ employees listed in Exhibit A, and $13,306.16 in Civil Money Penalties, plus $266.12



                                                 4
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 5 of 8 PageID: 158




in post-judgment interest due, to the Plaintiff. These payments shall be made by Defendants in

accordance with Paragraph III of this Consent Judgment.

       III.    The provisions of this Consent Judgment relative to back wage payments,

liquidated damages, post-judgment interest, and Civil Money Penalties shall be deemed satisfied

when Defendants fully comply with the terms of payment set forth below and in the attached

Exhibit B. Payment of the monies owed shall be made beginning with a down payment of

$181,250.00 made within thirty (30) calendar days of the date of entry of this Consent Judgment.

The remaining balance of $546,893.75 shall be made in thirteen (13) monthly installment

payments according to Exhibit B. All payments shall be paid by Defendants by credit card, debit

card, or bank account transfer by completing the following steps:

               A.     For electronic payment of the back wages, liquidated damages, and post-

       judgment interest due employees totaling $714,571.47, Defendants shall follow the

       following instructions: Go to https://pay.gov/public/form/start/77689032, select “Continue

       to Form” and complete the required fields. For “BW Case Number” enter “1884567”. The

       “Date of Assessment” is the date this Consent Judgment is approved by the Court.

               B.     For electronic payment of the Civil Money Penalties and post-judgment

       interest due Plaintiff totaling $13,572.28, Defendants shall follow the following

       instructions: Go to https://pay.gov/public/form/start/77734139, select “Continue to Form”

       and complete the required fields. For “CMP Case Number” enter “1884567”. The “Date

       of Assessment” is the date this Consent Judgment is approved by the Court.

       IV.     The Secretary shall distribute Defendants’ payments for back wages, liquidated

damages, and post-judgment interest due, less any legal deductions, to the former and current

employees, or to their estates, as set forth in Exhibit A. Any sums not distributed within a period



                                                5
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 6 of 8 PageID: 159




of three years from the date of receipt shall, pursuant to section 16(c) of the Act, be covered into

the Treasury of the United States as miscellaneous receipts. Defendants remain responsible for

paying the employer’s share of any applicable taxes to the appropriate state and federal revenue

authorities.

        V.     Defendants, and anyone acting on their behalf, shall not in any way directly or

indirectly demand, require or accept any of the back wages, liquidated damages, interest, or Civil

Money Penalties from any person listed in Exhibit A or from their personal representatives or

estates. Defendants, and anyone acting on their behalf, shall not threaten or imply that adverse

action will be taken against any person because of his or her receipt of funds due under the

provisions of this Consent Judgment or the Act. Violation of this Paragraph V may subject

Defendants to equitable and legal damages, including punitive damages and civil contempt.

        VI.    Defendants shall assist the Plaintiff in the distribution of the back wages, liquidated

damages, and interest due by providing the last known addresses and social security numbers, if

such is available, of the current and former employees listed in Exhibit A within twenty-one (21)

calendar days of the date of entry of this Consent Judgment.

        VII.   In the event that Defendants fail to make any of the payments as set forth in

Paragraph III of this Consent Judgment within fifteen (15) calendar days of its due date, then

Defendants consent to the entry of a Writ of Execution, consistent with the terms of this Consent

Judgment and pursuant to Rule 69 of the Federal Rules of Civil Procedure, to enforce the monetary

terms of this Consent Judgment. Such a writ of execution shall be limited to the pending remaining

balance of the Defendants’ monetary obligations under this Consent Judgment at the time such

writ is issued. The Secretary may represent in filing for such a writ that Defendants consent to its

issuance. Upon request from the Secretary, Defendants agree to furnish a complete and accurate



                                                 6
Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 7 of 8 PageID: 160




list of their real, personal, and business property with an estimated value of $2,000.00 or more and

the locations of such property for purposes of the Secretary seeking a Writ of Execution in

accordance with this Paragraph of the Consent Judgment.

       VIII.   ORDERED that Defendants shall distribute a copy of the attached Exhibit C in

English and Spanish to each current employee within twenty (21) calendar days of the date of entry

of this Consent Judgment.

       IX.     Neither the commencement of this action nor the provisions of this Consent

Judgment shall in any way affect, determine, or prejudice any and all legal rights of any employees

not listed in Exhibit A of this Consent Judgment, be they current or former employees, to file any

action against Defendants under section 16(b) of the Act or likewise for any current or former

employee listed in Exhibit A of this Consent Judgment to file any action against Defendants under

section 16(b) of the Act for violations alleged to have occurred after September 25, 2019.

       X.      Each party will bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding.




                                                 7
I   Case 2:20-cv-06332-CCC-ESK Document 50 Filed 02/03/22 Page 8 of 8 PageID: 161




             XL     The Court retains jurisdiction over this matter for the purposes of enforcing this

       Consent Judgment.




       DATED: February 3, 2022
                     Newark, New Jersey
                                                          SO ORDERED:

                                                                  /s/ Edward S. Kiel                .




                                                            Edward S. Kiel
                                                          HONORABLE    EDWARD
                                                            United State      S. KIEL Judge
                                                                          Magistrate
                                                          UNITED STATES MAGISTRATE JUDGE

       Defendants appeared by the undersigned
       counsel and consent to
       the entry of this Judgment.


       BY:
                     FTR ELECTRICAL AND MECHANICAL CONTRACTORS, INC.
                     By: FRANCISCO CARMO, Vice President


                           ±+ d d--52:-
                     ANTONIO GON ALVES, Individually


                    er4/�t:O              Ca-(�
                     FRANCISO CARMO, Individually




                     2 Executive s.:..-, ttm
                     Fort Lee, NJ 07024
                     Telephone: 201-947-5200
                     Email: mcohen@kdvlaw.com

                     Attorney for Defendants



                                                      8
